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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG


 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                 Case No.: 3:21CR49-2
                                                    (GROH)

 DIANA TOEBBE,

                       Defendant.


                                     DETENTION ORDER

        On October 20, 2021, came the United States of America by S. Derek Shugert

 and Jessica Lieber Smolar, Assistant United States Attorneys and came the Defendant,

 DIANA TOEBBE, who appeared in person and by her counsel, Edward B. MacMahon,

 Jr. Esq., and by her local counsel, Barry P. Beck, Esq., for a hearing on the United

 States Motion to Detain [ECF No. 10], in accordance with the Bail Reform Act, Title 18,

 United States Code, Section 3142(f). Evidence and witness testimony were presented

 to the Court.

                                       A. The Standards

        Title 18, United States Code, § 3142(g) provides the specific factors that are to

 be considered to determine whether there are conditions of release that will reasonably

 assure the appearance of the person as required and the safety of any other person

 and the community. Those factors are:

        1.       The nature and circumstances of the offense charged, including whether

                 the offense is a crime of violence, a violation of section 1591, a Federal


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               crime of terrorism, or involves a minor victim or a controlled substance,

               firearm, explosive, or destructive device;

       2.      The weight of the evidence against the person;

       3.      The history and characteristics of the person, including but not limited to

               community ties, employment, criminal history, record of court appearance

               or whether the person was on probation or parole at the time the current

               offense was committed; and

       4.      The seriousness of the danger to any person or the community that would

               be posed by the person’s release.

                      B. Findings of Fact and Conclusions of Law

       On October 19, 2021, an indictment was filed against the Defendant charging her

 with one count of conspiracy to communicate restricted data, and two counts of

 communication of restricted data, in violation of 42 U.S.C. §§ 2274(a) and 2014 and 18

 U.S.C. § 2(a). ECF No. 37.

       The Court finds as follows:

       1. The rebuttable presumption to detain does not apply in this case.

       2. The nature and circumstances of the offense charged according to the

            complaint, indictment, testimony of the FBI Special Agent and the exhibits

            presented at the detention hearing are as follows: Defendant’s husband, co-

            Defendant Jonathan Toebbe, held an active “Top Secret” security clearance

            through the United States Department of Defense and an active “Q” clearance

            through the United States Department of Energy, which granted him access

            to information involving or incorporating "Restricted Data" within the meaning



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            of the Atomic Energy Act of 1954, 42 U.S.C.§ 2011 et seq. ECF No. 37. From

            on or about April 1, 2020, through October 9, 2021, Defendants Jonathan and

            Diana Toebbe allegedly conspired to sell this restricted information to a

            foreign nation with the intent to injure the United States and secure advantage

            to a foreign nation. Id. After the foreign government, hereinafter COUNTRY1,

            received the sample of Restricted Data and instructions for establishing a

            covert relationship to purchase additional Restricted Data, COUNTRY1

            informed the FBI and the FBI contacted the supplier to establish an

            undercover covert relationship. During this undercover operation, the FBI

            arranged four dead drops with Defendants. Defendant Diana Toebbe was

            present at three of the four dead drops. Video from the dead drops show that

            Diana Toebbe is a willing participant in the activity. See Gov’t Ex. 5.

            Additionally, messages between the Defendants from as early as March 2019

            through October 5, 2020, demonstrate that Defendants were contemplating

            an activity that may require them to leave the country quickly. Gov’t. Ex. 26.1

            Specifically, on March 4, 2019, Jonathan Toebbe wrote: “I am also thinking

            about Plan A…it’s not morally defensible either. We convinced ourselves it

            was fine, but it really isn’t either, is it?” Id. Diana Toebbe wrote in response to

            Jonathan on the same date. “I have no problems at all with it. I feel no loyalty

            to abstractions.” Id. On March 7, 2019, Jonathan Toebbe wrote, “We’ve got

            passports, and some savings. In a real pinch we can flee quickly. Id. Diana

            responded on the same date, “Right. Let’s go sooner than later.” Id. The FBI


 1
   Government’s Exhibit 26 consists of a list of messages between Diana and Jonathan Toebbe taken from
 the Signal app on Jonathan’s cell phone.

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          has not recovered the thousands of “Top Secret” documents that Defendant

          offered to sell to the FBI and the money paid to Defendants prior to their

          arrests on October 9, 2021.

       3. The weight of the evidence against Defendant Diana Toebbe is strong. In the

          undercover correspondence provided by the Government, Defendant

          Jonathan Toebbe wrote:

          “….You asked if I am working alone. There is only one other person I know is
          aware of our special relationship, and I trust that person absolutely….”

          ECF No. 1-1 at 20, ¶ 63. Diana Toebbe’s participation at three of the four

          dead drops is evidence of her involvement in the alleged crimes. Gov’t. Ex. 5.

       4. If convicted, Defendant is subject to a lengthy sentence, a maximum of life in

          prison.

       5. Although Defendant has no prior criminal history, the nature and

          circumstances of the charges against her and her actions demonstrate that

          Defendant is a danger to every community and to our national security by

          clear and convincing evidence.

       6. Further, Defendant is a flight risk by a preponderance of the evidence and

          should be detained on those grounds alone. In the undercover

          correspondence provided by the Government, Defendant Jonathan Toebbe

          wrote:

           ….I have considered the possible need to leave on short notice. Should that
          ever become necessary, I will be forever grateful for your help extracting me
          and my family. I surmise the first step would be unannounced travel to a safe
          third country with plans to meet your colleagues. We have passports and
          cash set aside for this purpose. I pray such a drastic plan will never be
          needed, but you are right: it is a comfort to know you are ready and willing to
          aid us…..

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             ECF No. 1-1 at 20, ¶ 63. Additionally, the messages provided in the

             Government’s Exhibit 26 show Defendant Diana Toebbe’s desire to leave the

             country as early as March of 2019. On October 5, 2020, Diana Toebbe wrote

             to Jonathan Toebbe, “I think we need to be actively making plans to leave the

             country.” Id. The evidence seized by the FBI at Defendants’ residence

             including a back pack, a computer, and a large sum of money concealed in a

             box, suggests Defendants’ preparation to leave the country on short notice.

             Further, the Defendants were seeking renewal of their passports on an

             expedited basis despite not having travel plans until Spring of 2022.

        7. Defense counsel presented no evidence2 or testimony but argued that

             electronic monitoring, a third-party custodian, and no computer or internet

             access would suffice to prevent Defendant from fleeing. The Court is

             unconvinced.

        8. No bond conditions can be set to reasonably ensure the appearance of

             Defendant and the safety of the community.

                                            C. Decision

        Based upon the evidence presented and the above findings of fact and

 conclusions of law, the Government's Motion to Detain [ECF No. 10] is GRANTED.

 Accordingly, it is hereby

        ORDERED that:

        1.      Defendant is hereby remanded to the custody of the United States

                Marshals pending further proceedings in this case;

 2
  Defendant’s Supplemental Proffer [ECF No. 56] for Detention Hearing was filed on October 21, 2021.
 The Court did take this supplement into consideration in its determination.

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        2.     Defendant be confined in a facility separate, to the extent practicable, from

               persons awaiting or serving sentences or being held in custody pending

               appeal;

        3.     Defendant shall be afforded a reasonable opportunity for private

               consultation with defense counsel;

        4.     On order of a court of the United States or on request of an attorney for

               the Government, the person in charge of the corrections facility in which

               Defendant is confined shall deliver Defendant to the United States

               Marshal for the purpose of an appearance in connection with a court

               proceeding; and

        5.     Any party seeking revocation or amendment of this Order shall file a

               motion pursuant to 18 U.S.C. § 3145.

        The Clerk of the Court is directed to provide a copy of this Order to parties who

 appear pro se and all counsel of record, as applicable, as provided in the Administrative

 Procedures for Electronic Case Filing in the United States District Court for the Northern

 District of West Virginia.

 DATED: 10-21-2021




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